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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           Chapter 15 Case
In re:
                                                           Case No. 13-12116 (REG)
ICP STRATEGIC CREDIT INCOME FUND LTD., et al.,
                                                           (Jointly Administered)
                         Debtors in Foreign Proceedings.


ICP STRATEGIC CREDIT INCOME MASTER
FUND LTD., ICP STRATEGIC CREDIT INCOME
FUND LTD., and HUGH DICKSON and STEPHEN
AKERS, solely in their capacity as the Foreign
Representatives and Joint Official Liquidators of ICP      Adv. Pro. No. 14-01835 (REG)
Strategic Credit Income Fund Ltd. and ICP Strategic
Credit Income Master Fund Ltd.,                            (Procedurally Consolidated
                                                           Under This Matter)
                         Plaintiffs,
         -against-

DLA PIPER LLP (US),

                         Defendant.


                MEMORANDUM OF LAW IN SUPPORT OF
   DEFENDANT DLA PIPER LLP (US)’S MOTION TO DISMISS THE COMPLAINT


New York, New York
January 24, 2014
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       Defendant DLA Piper LLP (US) (“DLA”), by its undersigned attorneys, respectfully submits

this memorandum of law in support of its motion, pursuant to Rules 8(a), 9(b) and 12(b)(6) of the

Federal Rules of Civil Procedure, made applicable here by Rules 7008, 7009, and 7012 of the Federal

Rules of Bankruptcy Procedure, for an order dismissing with prejudice the complaint in the above-

captioned adversary proceeding filed by Plaintiffs Strategic Credit Income Master Fund, Ltd. (“SCIF

Master”) and Strategic Credit Income Fund, Ltd. (“SCIF Feeder”) (together, the “Funds”) and

Hugh Dickson and Stephen Akers, in their capacities as the Funds’ Foreign Representatives and Joint

Official Liquidators (all four together, “Plaintiffs”).

                                   PRELIMINARY STATEMENT

       This is an aiding and abetting case, not a legal malpractice case, against the law firm of DLA.

As such, Plaintiffs must plead facts showing actual knowledge of the alleged underlying fraud and

breach of fiduciary duty and knowing substantial assistance in that fraud and breach. Nothing of the

sort has been pled beyond rhetoric and conclusions because nothing of the sort happened. Moreover,

as a matter of law, DLA cannot be liable for aiding and abetting the alleged underlying misconduct

that has been pled in the Complaint because, under the well-established doctrine of in pari delicto,

that misconduct is imputed to Plaintiffs as a matter of law.

       Plaintiffs’ claims focus on the transfer of $36.5 million from SCIF Master to pay margin calls

in a structured transaction involving mortgage-backed securities in which Plaintiffs SCIF Master and

SCIF Feeder were significant investors (“CDO Transaction”). Absent those margin payments, there

would have been an Event of Default in the CDO Transaction; the underlying collateral would have

been seized and sold; and, consequently, in October 2008 Plaintiffs and the other investors in the

CDO Transaction would have lost tens of millions of dollars of their investment.

       Plaintiffs allege that SCIF Master’s $36.5 million payments were not authorized but instead

were stolen by ICP Asset Management LLC (“ICP”) and its principal Thomas C. Priore, which, it is


                                                     1
further alleged, together completely controlled both SCIF Master and SCIF Feeder. Plaintiffs seek to

hold DLA responsible for this alleged misconduct as a deep pocket. However, the Complaint admits

that DLA had no role whatsoever in this purported theft from SCIF Master; had no knowledge that

the $36.5 million allegedly was stolen; and never represented the Funds as their attorneys. DLA’s

only role was in providing basic transactional legal services in connection with the CDO Transaction

for its clients Triaxx Funding High Grade I, Ltd. (“Triaxx”) and ICP. The Complaint’s factual

allegations make clear that, in providing those services, DLA believed SCIF Master’s payments were

permitted under the CDO Transaction structure and would be repaid when market conditions

improved. In other words, DLA did not know of any alleged misconduct by ICP and Priore, much

less knowingly assist such alleged misconduct.

       In view of the foregoing, Plaintiffs’ claims are incurably flawed for myriad independent

reasons. Most fundamentally, all of Plaintiffs’ claims are completely barred by the doctrine of in pari

delicto and the Wagoner rule, which preclude wrongdoers and their successors in interest from

bringing claims arising out of their own misconduct. The alleged misconduct here is imputed to

Plaintiffs as a matter of law because the Complaint establishes that Priore and ICP were vested with

unfettered discretion over the Plaintiff Funds’ investment activities, and the Plaintiff Joint Official

Liquidators stand in the Funds’ shoes.

       Plaintiffs’ Complaint acknowledges that in pari delicto applies and thus attempts to avoid the

consequences of imputation by invoking the limited exceptions to in pari delicto. But none of these

exceptions applies. The “adverse interest” exception does not apply as a matter of law because the

Complaint concedes that the alleged misconduct benefitted the Funds in several ways, including by

bringing money directly into the Funds’ coffers and avoiding an Event of Default in the CDO

Transaction that would have wiped out the Funds’ investment. Even if the adverse interest exception

did apply, it would be negated by the “sole actor” rule because the Complaint also admits that ICP


                                                    2
and Priore had full and unfettered discretion over the Funds’ investment decisions and were the

Funds’ sole agents. Finally, Plaintiffs cannot invoke the “innocent insider” exception because (a) this

exception only comes into to play if the adverse interest exception applies (it does not) and the sole

actor rule does not apply (it does), and (b) the Complaint fails to identify any innocent insiders who

had actual power to prevent the alleged misconduct.

       Independent of in pari delicto, the Complaint fails because Plaintiffs come nowhere close to

pleading the requisite elements of their aiding and abetting claims under the strictures of FRCP 9(b).

First, leaving aside the Complaint’s failure to plead an underlying fraud or breach of fiduciary duty

with the required particularity, Plaintiffs utterly fail to plead facts demonstrating that DLA had actual

knowledge of ICP’s and Priore’s alleged misconduct. Plaintiffs’ knowledge allegations are nothing

more than conclusory assertions unsupported by any specific facts and mere “should have known”

allegations that fail to meet New York’s rigorous “actual knowledge” test. Indeed, the Complaint’s

factual allegations make clear that, far from knowing of the alleged misconduct, at all relevant times

DLA believed—based on what ICP, Priore and others had told it—that (1) SCIF Master’s payments

were loans; (2) those loans were permissible under the CDO Transaction’s structure; (3) there was a

mechanism imbedded in that transactional structure for SCIF Master to be repaid; and (4) no party to

the CDO Transaction believed it was improper for SCIF Master to make the margin payments.

       Second, Plaintiffs do not plead “substantial assistance” by DLA in the alleged misconduct.

To the contrary, the Complaint makes clear that DLA did nothing more than provide routine

transactional counsel services with respect to the CDO Transaction, which as a matter of law never

can be “substantial assistance.” Fatally, the Complaint admits that DLA played no role at all in the

central event of the alleged misconduct—ICP’s and Priore’s purported theft of $36.5 million from

SCIF Master—because ICP and Priore alone caused that theft. DLA never interacted with anyone

from the Funds nor took any steps to effect the actual transfers from SCIF Master’s bank account.


                                                    3
For this reason, nothing DLA did could have proximately caused Plaintiffs’ alleged harm here, an

independent failing of the aiding and abetting claims.

         Finally, Plaintiffs’ Cayman law claim cannot be pursued in this Court under principles of

comity, and it otherwise fails for the same reasons the aiding and abetting claims fail as noted above.

Accordingly, this Motion should be granted, and the Complaint should be dismissed with prejudice.

                                            PROCEDURAL HISTORY

         On June 28, 2013, Plaintiffs filed a verified petition in this Court pursuant to Chapter 15 of

the United States Bankruptcy Code seeking recognition of the Funds’ liquidation proceedings

pending in the Grand Court of the Cayman Islands (the “Chapter 15 Proceeding”). (ECF No. 3.)1

On August 8, 2013, the Court entered an order granting recognition to the Cayman Islands liquidation

of the Funds as a foreign main proceeding. (ECF No. 17.)

         On December 6, 2013, Plaintiffs filed this action against DLA in New York State Supreme

Court, and on January 17, 2014, pursuant to 28 U.S.C. § 1334(b), DLA removed to federal court.

(See ICP Strategic Credit Income Master Fund Ltd. et al. v. DLA Piper LLP (US), 14-cv-351 (AKH)

(S.D.N.Y.), ECF No. 1 & Ex. A (“Compl.”).)2

                                        BRIEF STATEMENT OF FACTS3

I.       BACKGROUND OF THE CDO TRANSACTION

         DLA represented Triaxx and ICP, in its role as Triaxx’s collateral manager, in the CDO

Transaction. (Compl. ¶ 43.) Triaxx was the issuer of certain collateralized debt obligations

consisting of residential mortgage-backed securities in the CDO Transaction in which the Funds,


 1
     All references to “ECF” are to the ECF in the Chapter 15 Proceeding unless otherwise indicated.
 2
     As of the date DLA served this Motion on Plaintiffs, the instant action had not yet been referred to this Court.
 3
     The facts set forth herein are taken from the Complaint, documents referenced therein, and other documents subject
     to judicial notice. For purposes of this Motion only, and consistent with the applicable standard of review, DLA
     accepts the Complaint’s well-pled factual allegations as true. Nevertheless, if this case proceeds past this Motion (it
     should not), DLA will vigorously dispute and prove utterly false the Complaint’s allegations and characterizations.



                                                              4
among others, were investors. (Id. ¶ 2.) As the collateral manager to Triaxx in connection with the

CDO Transaction, ICP was responsible for running Triaxx’s day-to-day business. (Id. ¶ 1.) Priore

served as ICP’s President, Chief Executive Officer, and senior portfolio manager. (Id. ¶ 34.)

       In 2007, Triaxx entered into a Master Repurchase Agreement (“MRA”) with Barclays Bank

PLC (“Barclays”). (Id. ¶ 31.) Pursuant to the MRA, Barclays provided Triaxx with financing in

exchange for collateral provided by Triaxx; that collateral was a portfolio of residential mortgage-

backed securities related to the CDO Transaction (“Collateral”). (Id.)

       Under the MRA, Barclays regularly “marked to market” the value of the Collateral. (Id.) If

the value of the Collateral dropped below a certain level, Barclays issued a “margin call” requiring

Triaxx to post additional collateral. (Id.) If Triaxx failed to meet a margin call, Barclays could

declare an “Event of Default” and seize the Collateral and sell it to satisfy Triaxx’s obligations under

the MRA, effectively ending the CDO Transaction. (Id.) Conversely, if the value of the Collateral

increased above a certain point, Barclays would transfer money—known under the MRA as “margin

excess” funds—to Triaxx. (Id.)

       Starting in late 2007, ICP and Priore periodically caused Triaxx to meet Barclays’s margin

calls in different ways. (See id. ¶ 40.) For example, in November 2007, ICP structured a transaction

whereby certain existing Triaxx noteholders purchased “Designated Senior Counterparty Credit

Enhancement Notes” (“CENs”), the proceeds of which then were used to satisfy Barclays’s margin

calls. (See id. ¶ 41.) There is no allegation that DLA had anything to do with the CENs.

II.    OCTOBER 2008 MARGIN CALL AND PAYMENT BY SCIF MASTER

       In October 2008, Barclays issued a margin call that Triaxx was unable to pay using processes

ICP previously had employed. (See id. ¶¶ 40-42.) ICP could no longer use CENs to satisfy the

margin calls and, because of the declining market conditions that existed in late 2008, was not able to

raise sufficient funds by selling Triaxx-issued bonds on the open market. (Id.)



                                                   5
         Accordingly, to address the October 2008 margin call, which threatened the funds of myriad

investors (including the Plaintiff Funds), on October 28, 2008 ICP asked DLA, and specifically

attorney Lucien White, whether it was possible for Triaxx’s margin payment to be made by an entity

other than Triaxx, i.e., a payment that was “not part of the deal structure.” (Id. ¶¶ 43-44.) Contrary

to Plaintiffs’ conclusory (and false) rhetoric (e.g., “White’s plan” (id.)), the Complaint concedes that

it was ICP who first raised this possibility, not DLA. (Id.) White responded to ICP that, based on his

review of the CDO Transaction documents, ICP’s proposed business solution was not specifically

addressed by the deal documents, and thus it was not forbidden; therefore, in White’s legal judgment,

a third party could make the margin payment. (Transcript of Deposition of L. White, dated May 6,

2010 at 6 (cited in Compl. ¶¶ 102-05; attached as Exhibit A to the Appendix of Documents Cited in

the Complaint and Foreign Authorities Submitted with Motion to Dismiss the Complaint filed

herewith (“Appendix”)); see also Oct. 28, 2008 email (“it should work”) (cited in Compl. ¶ 44;

Appendix, Ex. B).)4

         The next day, October 29, 2008, White conveyed to Barclays’s counsel at Cadwalader,

Wickersham & Taft (“Cadwalader”) ICP’s potential business solution for satisfying the October

2008 margin call. Specifically, White conveyed to Cadwalader ICP’s proposal that “an icp affiliate

post the cash [for the margin payment] in lieu of Triaxx Funding doing it.” (Compl. ¶ 45.) Despite

 4
     In ruling on a motion to dismiss, the Court may consider the facts contained in documents incorporated into the
     complaint by reference. Blue Tree Hotels Inv. (Canada), Ltd. v. Starwood Hotels & Resorts Worldwide, Inc., 369
     F.3d 212, 217 (2d Cir. 2004). The Court also may consider documents “upon which [the complaint] solely relies and
     which [are] integral to the complaint.” Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007) (internal quotation marks,
     citation and emphasis omitted); see also Grubin v. Rattet (In re Food Mgmt. Group, LLC), 380 B.R. 677, 690 (Bankr.
     S.D.N.Y. 2008) (holding that court may consider document that has “not been incorporated by reference where the
     complaint relies heavily upon its terms and effect, which renders the document integral to the complaint”) (internal
     quotation omitted). As this Court previously explained in a case where the Court considered on a motion to dismiss,
     among other extrinsic documents, email communications among the parties that had been referenced in the
     complaint: “if the plaintiff purports to characterize . . . extrinsic matter in its complaint, . . . a moving defendant still
     may rely on that extrinsic matter in moving to dismiss, and the Court need not subject that defendant, and the Court
     system, to the additional expense and burden of considering that same matter later on a motion for summary
     judgment.” Highland Capital Mgmt., LP v. UBS Secs. LLC (In re Lyondell Chemical Co.), 491 B.R. 41, 50 n.48
     (Bankr. S.D.N.Y. 2013). The nine documents included in the Appendix may be considered by the Court under these
     standards.



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Plaintiffs’ conclusory (and false) rhetoric here too,5 the facts actually alleged in the Complaint

confirm that White did not know at this time what entity this “icp affiliate” would be; that was a

business decision ICP would make later on its own, and, as the Complaint further admits, it was only

“[a]fter [DLA] sen[t] the email to Barclays’s counsel” that ICP told White for the first time that the

margin payment would be made “from our Hedge Fund [SCIF Master].” (Id. ¶ 46 (emphasis added).)

         ICP and Priore completely controlled SCIF Master (as well as SCIF Feeder). ICP was the

Investment Manager for both Funds, and Priore served as the Funds’ Executive Director and

managed the Funds’ day-to-day operations through ICP. (See id. ¶¶ 26-27, 34.) But DLA never

represented the Funds (the only real Plaintiffs here), as Plaintiffs concede. (Id. ¶¶ 29, 101.) Nor,

significantly, does the Complaint allege that DLA ever represented ICP in its capacity as the Funds’

Investment Manager.

         Barclays and its counsel at Cadwalader agreed to ICP’s proposal to accept a margin payment

from SCIF Master to satisfy the October 2008 margin call. On October 29, 2008, ICP caused SCIF

Master to pay Barclays $7.2 million, thus avoiding a catastrophic Event of Default. (Id. ¶ 47.)

         This payment by SCIF Master furthered both Funds’ (i.e., Plaintiffs’) interests. As the

Complaint repeatedly admits, the Funds were heavily invested in the CDO Transaction and therefore

had a very strong interest in ensuring that Barclays did not declare an Event of Default that would

have wiped out their sizeable position. (Id. ¶¶ 3, 33 (“SCIF Master purchased tens of millions of

dollars in various tranches of Triaxx Funding ‘mezzanine notes’” and “approximately 50% of the

SCIF Funds’ net asset value was invested in Triaxx Funding”) (emphasis added).) Thus, it was in




 5
     E.g., White “told them that they could use money from the SCIF Funds to pay Triaxx Funding’s margin obligations”
     and “White, Priore and ICP agreed to use SCIF Master’s assets.” (Compl. ¶¶ 5, 10.) As this Court has explained,
     “[w]here general conclusory allegations are belied by more specific allegations of the complaint, they cannot be
     credited by the Court.” In re Magnesium, 399 B.R. 722, 768 (Bankr. S.D.N.Y. 2009) (quotations and citation
     omitted).



                                                          7
both Funds’ interests to make sure that Barclays’s October 2008 margin call was satisfied so that

Barclays did not foreclose on the Collateral.

III.   ALL PARTIES UNDERSTOOD SCIF MASTER’S PAYMENTS WERE LOANS

       From the very beginning, it was understood by all parties to the CDO Transaction that SCIF

Master’s margin payments were intended to be loans. As the Complaint concedes, on October 29,

2008, White told Barclays that there would be “a short letter agt between Barclays and the funder of

the cash.” (Id. ¶ 45.) On October 31, 2008, “White sent Barclays a draft letter agreement between

SCIF Master and Barclays” memorializing the terms of the loan. (Id. ¶ 56.)

       On November 5, 2008, Barclays informed DLA that it would not execute the draft agreement

White had sent (id. ¶ 57), but that did not mean Barclays ceased to understand that SCIF Master’s

margin payments were loans. To the contrary, Barclays confirmed the existence of a loan by

proposing an alternative mechanism for repayment of SCIF Master. (Id. ¶ 104 (“Barclays

subsequently said we’re not signing that document and a different method of repayment was

discussed . . . [t]he mechanics of the repayment are what became different.”).)

       In the same conversation in which Barclays stated that it would not sign the draft agreement,

Barclays’s counsel at Cadwalader proposed to White that (1) when “margin excess” developed due to

Collateral appreciation, Barclays would transfer the margin excess funds to Triaxx (as Barclays

already was required to do under the MRA); and then (2) ICP would direct LaSalle, as trustee for

Triaxx, to transfer those margin excess funds to SCIF Master to repay the loan (as ICP was

authorized to do under the MRA). (Id. ¶¶ 103-04 (referencing “the suggestion by [Barclays’s

counsel] that a transfer of these funds from Barclays to the issuer could be then subsequently

transferred pursuant to an instruction from the collateral manager to SCIF”); Nov. 5, 2008 email

(cited in Compl. ¶ 57; Appendix, Ex. C).) Thus, Barclays made clear to DLA and ICP on November




                                                   8
5, 2008 that it continued to understand that SCIF Master’s margin payments were loans.6

          White told ICP that in his judgment Barclays’s alternative proposal for how the loan would be

repaid was a workable solution under the CDO Transaction structure. (Nov. 5, 2008 email (cited in

Compl. ¶ 57; Appendix, Ex. C).) ICP agreed, and pursuant to this agreement, ICP subsequently made

the business decision to cause SCIF Master to fund an additional nine margin payments to Barclays

for a total of $36.5 million. (Compl. ¶ 111.) DLA’s role in connection with those nine additional

payments was limited: ICP would inform White that Barclays had issued a margin call and that SCIF

Master was going to loan funds to pay that margin call; White would prepare the form paperwork

required by the CDO Transaction documents; and, without any involvement by DLA or White, ICP

would cause SCIF Master to transfer the funds to Barclays. (See, e.g., id. ¶¶ 59-61, 63-65, 67-70.)

          The CDO Transaction continued until early 2010. At that time, Barclays declared an Event of

Default and subsequently foreclosed on the Triaxx Collateral. (Id. ¶ 114.)

IV.       SEC’S AND PLAINTIFFS’ LAWSUITS AGAINST ICP AND PRIORE

          On June 21, 2010, the SEC filed a civil suit against ICP and Priore for alleged misconduct

relating to the CDO Transaction. (ECF No. 4, Ex. E (June 30, 2011 Amended Complaint and Sept. 6,

2012 Judgment in SEC proceedings).) The SEC did not institute (and to this day has not instituted)

proceedings against DLA or White. In September 2012, defendants in the SEC action consented to

entry of judgment without admitting or denying any of the SEC’s allegations. (Id.)


 6
      Plaintiffs suggest that this arrangement “was far from a loan” because the Funds would be repaid “only if the market
      turned around.” (Compl. ¶ 56.) But Plaintiffs do not and cannot deny that a loan or other debt that is contingent on
      the occurrence of some future event—which was exactly what Barclays described—is still valid debt, even if that
      future event is not certain to occur. See In re Manville Forest Products Corp., 225 B.R. 862, 865-66 (Bankr.
      S.D.N.Y. 1998) (under Bankruptcy Code “all legal obligations of the debtor” include “contingent and unmatured
      rights of payment”) (quotations and citation omitted), aff'd, 209 F.3d 125 (2d Cir. 2000); Allen Morris Commercial
      Real Estate Servs. Co. v. Numismatic Collectors Guild, Inc., 1993 WL 183771, at *8 (S.D.N.Y. May 27, 1993)
      (under New York’s Debtor and Creditor Law “[a] debt includes any legal liability, whether matured or unmatured,
      liquidated or unliquidated, absolute, fixed or contingent”) (quotations and citation omitted); 3A Collier on
      Bankruptcy, § 63.30, p. 1912.1 (“A ‘contingent’ obligation includes ‘all debts that, either as to their existence or as to
      their amount, depend upon some future event uncertain either as to its occurrence altogether or as to the time of the
      occurrence.’”).



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         On February 8, 2012, Plaintiffs filed a lawsuit against Priore, ICP, and Triaxx in New York

State Supreme Court. (ECF No. 4, Ex. F (state court complaint).) In that action, Plaintiffs assert

three claims: breach of fiduciary duty against Priore; breach of contract against ICP; and unjust

enrichment against Triaxx. (Id. ¶¶ 63-85.) Importantly, Plaintiffs have not sued ICP for breach of

fiduciary duty; nor have they sued any defendant in that action for fraud, despite attempting in the

instant case to hold DLA liable for aiding and abetting ICP’s purported breach of fiduciary duty and

both ICP’s and Priore’s purported fraud.7

                                                      ARGUMENT

I.       STANDARDS ON A MOTION TO DISMISS

         To survive a motion to dismiss, a complaint must contain “allegations plausibly suggesting

(not merely consistent with)” an “entitlement to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

558 (2007). Unless a complaint “raise[s] a right to relief above the speculative level,” it should be

dismissed. Id. at 555. Thus, a complaint must contain more than “[c]onclusory allegations or legal

conclusions masquerading as factual conclusions,” or it “will not suffice to [defeat] a motion to

dismiss.” Kiobel v. Royal Dutch Petroleum Co., 621 F.3d 111, 191 (2d Cir. 2010), aff’d, 133 S. Ct.

1659 (2013).

         Further, Plaintiffs’ claims here must do much more than meet just those exacting FRCP Rule

8 standards; they also must satisfy the heightened pleading requirements of FRCP Rule 9(b), made

applicable here through Federal Rule of Bankruptcy Procedure 7009. Rule 9(b) requires that “[i]n

alleging fraud or mistake, a party must state with particularity the circumstances constituting fraud or

mistake.” Fed. R. Civ. P. 9(b) (emphasis added). Rule 9(b) applies to claims of aiding and abetting

fraud, Lerner v. Fleet Bank, N.A., 459 F.3d 272, 292-93 (2d Cir. 2006), as well as “any claim that

 7
     As set forth in the Request for Judicial notice filed concurrently herewith, the Court can take judicial notice of both
     the pleadings from the SEC proceedings and Plaintiffs’ state court complaint because (1) all of these documents
     already have been filed with the Court and (2) they also are pleadings on file in other courts.



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‘sounds in fraud,’ regardless of whether fraud is an element of claim,” including claims like

Plaintiffs’ Cayman law claim and claims for aiding and abetting breach of fiduciary duty.

Matsumura v. Benihana Nat’l Corp., 542 F. Supp. 2d 245, 251-52 (S.D.N.Y. 2008) (holding Rule

9(b) applied to claim against attorney for aiding and abetting breach of fiduciary duty).

II.       ALL OF PLAINTIFFS’ CLAIMS ARE BARRED UNDER THE IN PARI DELICTO
          DOCTRINE AND THE WAGONER RULE

          One reason Plaintiffs’ Complaint fails is simply that, under the doctrine of in pari delicto and

the Wagoner rule, Plaintiffs cannot sue DLA for aiding and abetting ICP’s and Priore’s alleged

misconduct8 because the law holds Plaintiffs themselves responsible for those wrongful acts.

          A.       The In Pari Delicto Doctrine And The Wagoner Rule

          The doctrine of in pari delicto prevents a party from suing others for a wrong in which the

party participated or is deemed through imputation to have participated. Ross v. Bolton, 904 F.2d

819, 824 (2d Cir. 1990); Kirschner v. KPMG, LLP, 15 N.Y.3d 446, 464 (2010), answer to certified

question conformed to Kirschner v. KPMG, LLP, 626 F.3d 673 (2d Cir. 2010). In pari delicto “is

grounded on two premises: first, that the courts should not lend their good offices to mediating

disputes among wrongdoers; and second, that denying judicial relief to an admitted wrongdoer is an

effective means of deterring illegality.” Bateman Eichler, Hill Richards, Inc. v. Berner, 472 U.S.

299, 306 (1985). “This maxim is far more than a mere banality. It is a self-imposed ordinance that

closes the doors of a court of equity to one tainted with inequitableness or bad faith relative to the

matter in which he seeks relief, however improper may have been the behavior of the defendant.”

Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814-15 (1945).

          Under the Wagoner rule, in pari delicto applies equally to certain successors in interest of

 8
      As discussed infra pp. 21-36, the Complaint does not plead ICP’s and Priore’s alleged fraud and breaches of
      fiduciary duty with the required particularity, which independently requires dismissal of Plaintiffs’ claims. But even
      assuming the Complaint did adequately plead the alleged misconduct, Plaintiffs’ claims are barred by in pari delicto
      as demonstrated below.



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wrongdoers, including bankruptcy trustees and foreign liquidators, who stand “in the shoes of the

bankrupt corporation” and can only maintain those actions “that the corporation could have instituted

prior to filing its petition for bankruptcy proceeding.” In re Mediators, Inc., 105 F.3d 822, 825-26

(2d Cir. 1997). Thus, for example, “when a bankrupt corporation has joined with a third party in

defrauding its creditors, the trustee cannot recover against the third party for the damage.” Shearson

Lehman Hutton, Inc. v. Wagoner, 944 F.2d 114, 118 (2d Cir. 1991) (trustee not permitted to assert

aiding and abetting claim against third party); accord Kirschner, 15 N.Y.3d at 477.

       B.      Priore’s And ICP’s Alleged Misconduct Is Imputed To Plaintiffs And Bars Any
               Recovery

       Any alleged misconduct by Priore or ICP is imputed to all four Plaintiffs here, which means

that in pari delicto bars all of their claims against DLA arising from that misconduct. As to the

Plaintiff Funds themselves, it is well-established that “acts—including fraudulent ones—committed

by corporate agents [here, ICP and Priore] acting with the scope of their authority are presumptively

imputed to their principals [here, the Plaintiff Funds]” and the principals are bound by such conduct.

Concord Capital Mgmt., LLC v. Fifth Third Bank, 2011 WL 10564345, at *7 (Sup. Ct. N.Y. Cty.

Dec. 1, 2011) (emphasis added, internal quotations and citations omitted), aff’d, 102 A.D.3d 406 (1st

Dep’t 2013), lv to appeal denied, 21 N.Y.3d 851 (2013); see also Kirschner, 15 N.Y.3d at 465

(“imputation is the ‘general rule’” in in pari delicto analysis) (internal quotation omitted).

       Plaintiffs repeatedly admit that Priore and ICP were the Funds’ agents and managers and that

in those capacities Priore and ICP engaged in the misconduct alleged here. (See, e.g., Compl. ¶¶ 1, 6,

8-9, 11-14, 16, 18, 26-28, 35-42, 50, 55, 68-69, 90, 95, 101, 107, 109-14, 123(a)-(e), 129(a)-(e), 134.)

Plaintiffs admitted the same facts in their separate lawsuit against Priore and ICP. (ECF No. 4, Ex. F

¶¶ 2-3.) Therefore, because Priore and ICP committed the purported fraud and breaches of fiduciary

duty alleged here while managing the business of the Plaintiff Funds, all of that alleged misconduct is

imputed to the Funds. Cobalt Multifamily Investors I, LLC v. Arden, 857 F. Supp. 2d 349, 364

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(S.D.N.Y. 2011) (“New York law recognizes that when a corporation’s managers act within the

scope of their employment, their actions may generally be imputed to the corporation.”); Bullmore v.

Ernst & Young Cayman Is., 20 Misc.3d 667, 672 (Sup. Ct. N.Y. Cty. 2008) (“[T]he investment

managers’ alleged wrongdoing is imputable to the Fund based on agency principles.”).

       Priore’s and ICP’s misconduct likewise is imputed to the other Plaintiffs here—the Funds’

Joint Official Liquidators—because they stand in the Funds’ shoes. As this Court has explained:

       Wagoner and its progeny, applying what is in substance a rule of agency law . . . ,
       impute the wrongful conduct of predecessor management to the corporation itself and
       then to the bankruptcy trustee or other estate representative. Even if (as is normally
       the case), the trustee did nothing wrong, and is instead an innocent fiduciary trying to
       recover for the injured corporation . . . , former management’s imputed misconduct
       gives rise to an in pari delicto defense.

In re Magnesium, 399 B.R. 722, 761-62, 768-69 (Bankr. S.D.N.Y. 2009) (emphasis added) (granting

motion to dismiss; “Under existing Wagoner Rule doctrine, which the Court is bound to follow, the

Trustee lacks standing under the Wagoner Rule, and is also barred by principles of in pari delicto

from asserting claims against the Outsider Defendants.”). See also Breeden v. Kirkpatrick &

Lockhart, LLP (In re Bennett Funding Grp., Inc.), 268 B.R. 708, 709 (S.D.N.Y. 2001) (“Because

management’s misconduct is imputed to the corporation, and because a trustee stands in the shoes of

the corporation, the Wagoner rule bars a trustee from suing to recover for a wrong that he himself

essentially took part in.”), aff’d, 336 F.3d 94 (2d Cir. 2003).

       Courts in this Circuit regularly apply these principles at the pleading stage to bar debtor

companies like the Funds and the trustees and liquidators standing in their shoes from asserting

claims against third parties like DLA for allegedly assisting in misconduct where, as here, the

complaint admits that corporate management actively participated in that same misconduct. See, e.g.,

In re Bernard Madoff Inv. Secs., LLC, 721 F.3d 54, 64 (2d Cir. 2013) (“BLMIS”) (affirming

dismissal based on in pari delicto and Wagoner rule of trustee’s claims for, inter alia, aiding and

abetting breach of fiduciary duty and fraud); Kirschner v. KPMG, LLP, 626 F.3d 673, 674 (2d Cir.

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2010) (affirming dismissal of trustee’s claims because insider’s misconduct was imputed to trustee

pursuant to Wagoner rule); In re Mediators, 105 F.3d at 825-27 (affirming dismissal of creditor

committee’s aiding and abetting claims against law firm and accountants based on Wagoner rule).

Consistent with these numerous authorities, this Court too should dismiss all of Plaintiffs’ claims.

       C.      The Limited Exceptions To Imputation Are Inapplicable Here And Cannot
               Defeat The Absolute In Pari Delicto Bar To Plaintiffs’ Claims

       Obviously recognizing that in pari delicto is fatal to their claims, Plaintiffs attempt to plead

around the doctrine through conclusory allegations designed to invoke certain very limited exceptions

to imputation. (See, e.g., Compl. ¶¶ 27, 116-19.) None of those exceptions is applicable here.

               1.      The Adverse Interest Exception Is Inapplicable

       The adverse interest exception to imputation applies only when the guilty manager has

“totally abandoned” the interests of the corporation. In re Mediators, 105 F.3d at 827 (emphasis

added). This is the “most narrow of exceptions . . . reserved for cases of outright theft or looting or

embezzlement,” and courts in the Second Circuit require an extraordinarily heightened standard of

self-dealing before they will apply it. BLMIS, 721 F.3d at 64 (quotations and citation omitted); see

also In re Cal. TD Inv. LLC, 489 B.R. 124, 130 (Bankr. C.D. Cal. 2013) (describing New York’s

requirement “that the agent has ‘totally abandoned’ the principal’s interests” as a “heightened

standard of self-dealing” compared to California and Ninth Circuit law).

       As long as the corporation received some benefit from the manager’s misconduct, the adverse

interest exception does not apply, regardless of how small the benefit to the corporation or how great

the benefit to the manager; and, this is so even if the primary motivation for the manager’s acts was

inimical to the corporation. Concord Capital Mgmt., 2011 WL 10564345, at *7 (“[I]f a fraud brings

money into the company’s own coffers, the adverse interest exception is unavailable, irrespective of

whether the benefit to the agent is great and the benefit to the company is small.”); Bullmore, 20

Misc.3d, at 672 (“[W]here a corporation benefits to any extent from the alleged wrongful acts of its


                                                   14
agents, the agents cannot be said to have ‘totally’ abandoned the interests of the corporation.”).

       Plaintiffs’ one-paragraph attempt to invoke this “most of narrow of exceptions” falls well

short of this exacting requirement for two independent reasons. (See Compl. ¶ 116.) First, the

Complaint makes clear that Priore’s and ICP’s alleged misconduct actually conferred several benefits

on the Funds. This fact conclusively defeats any argument that the adverse interest exception could

apply here. See, e.g., Cobalt Multifamily Investors, 857 F. Supp. 2d at 364 (adverse interest

exception did not apply where agents’ “offer and sale of unregistered securities, though ultimately

intended for their personal gain, clearly enriched the Cobalt entities as well”).

       Initially, Plaintiffs admit that SCIF Master’s margin payments enabled Triaxx to make

quarterly interest payments to its Noteholders, which included the Funds. (See Compl. ¶¶ 1, 9.) See

Concord Capital Mgmt., 2011 WL 10564345, at *7 (granting motion to dismiss and holding “it is

clear that Concord’s top executives did not ‘totally’ abandon the interests of the company” where

complaint admitted that the alleged misconduct brought money into the company; “Concord itself

benefitted from the Insiders’ fraudulent activity, as a result of the substantial fees it received.”). The

fact that Priore and ICP also benefitted from the alleged misconduct by obtaining additional

management fees (Compl. ¶ 5) is irrelevant and cannot constitute “total abandonment” in the face of

this unquestionable benefit to the Funds. Bullmore, 20 Misc.3d, at 672 (“The JOL point out that the

investment managers personally stood to benefit from higher valuations, insofar as every dollar

invested in the Fund translated into higher management incentive fees for themselves. Nonetheless,

where a corporation benefits to any extent from the alleged wrongful acts of its agents, the agents

cannot be said to have ‘totally’ abandoned the corporation’s interests.”).

       Plaintiffs also admit that “[i]n the event that Triaxx Funding failed to make a required margin

payment, Barclays could foreclose and liquidate the collateral.” (Compl. ¶ 31; see also id. ¶ 2.)

Thus, by causing SCIF Master to make margin payments on Triaxx’s behalf, thereby avoiding


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liquidation of the Collateral, ICP and Priore clearly conferred a benefit on the Funds, which had

invested “approximately 50% of [their] net asset value . . . in Triaxx Funding,” including by

“purchas[ing] tens of millions of dollars in various tranches of Triaxx Funding ‘mezzanine’ notes.”

(Id. ¶¶ 3, 33.) Without SCIF Master’s margin payments, the Funds (and all other Triaxx

Noteholders) would have suffered tremendous losses when Barclays declared an Event of Default and

foreclosed on the Collateral. Concord Capital Mgmt., 2011 WL 10564345, at *8 (“[S]o long as the

corporate wrongdoer’s fraudulent conduct enables the business to survive, even where the fraud can

be said to have caused the company’s ultimate bankruptcy, it does not follow that the insiders ‘totally

abandoned’ the company.”) (quotations, citation and alteration omitted); Bullmore, 20 Misc.3d, at

671 (“it is readily apparent that the Fund stood to receive some degree of financial benefit on account

of the investment managers’ alleged wrongdoing, that is reflected in the JOL’s allegations”).9

         This clear benefit to the Funds is spelled out in black and white in a contemporaneous email

in May 2009 that is cited in the Complaint:

         You have also indicated to us that, absent these advances [by SCIF Master], there was
         a substantial likelihood that Barclays would have declared an Event of Default . . . ,
         triggering liquidation of the collateral by Barclays, possibly leaving the Noteholders,
         particularly the junior noteholders, with a principal shortfall. Because of these facts,
         you have indicated that it was ICP AM’s good faith judgment that ICP SCIMF’s
         making of these advances was in the best interests of the Senior Counterparties and
         the Noteholders.

(May 21, 2009 email (cited in Compl. ¶ 85; Appendix, Ex. D) (emphasis added).)

         Second, and independently, Plaintiffs do not allege any facts showing that Priore and ICP

looted the Funds for personal gain, engaged in pure self-dealing, or otherwise “totally abandoned” the

Funds’ interests. The Complaint alleges only (and conclusorily) that Priore and ICP “(i) placed their

 9
     While Barclays did eventually foreclose on the Collateral a year and a half after SCIF Master’s first margin payment,
     that future event is irrelevant to the analysis here. The benefit to the Funds must be analyzed by the facts as they
     existed contemporaneously, not through impermissible hindsight. See Kirschner, 15 N.Y.3d at 468 (“[T]he mere fact
     that a corporation is forced to file for bankruptcy does not determine whether its agents’ conduct was, at the time it
     was committed, adverse to the company.”).



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own interests, or the interests of Triaxx Funding, ahead of the SCIF Funds’ interests; [and] (ii) acted

in their own best interests to the detriment of the SCIF Fund.” (Compl. ¶ 116.) This is not the same

as pleading facts demonstrating that ICP and Priore totally abandoned the Funds’ interests (as

opposed to merely subordinating those interests).

       In sum, Plaintiffs admit that ICP’s and Priore’s alleged misconduct benefitted the Funds in

several ways, and, as well, the Complaint fails to allege facts demonstrating that ICP and Priore

totally abandoned the Funds’ interests. Therefore, the adverse interest exception to imputation cannot

apply here for these alternative reasons, and in pari delicto bars Plaintiffs’ claims.

               2.      Even If The Adverse Interest Exception Is Applied, It Is Negated By The
                       Sole Actor Rule

        Even assuming Plaintiffs somehow could establish that ICP and Priore engaged in pure self-

dealing that conferred no benefit on the Funds in order to invoke the adverse interest exception (they

cannot), the “sole actor rule” nevertheless prohibits application of the adverse interest exception here,

and thus in pari delicto still bars Plaintiffs’ claims. Where, as here, the agent completely controls the

corporation, then the corporation and the agent are considered to be “one and the same,” and the sole

actor rule negates the adverse interest exception (thus once again making in pari delicto

applicable)—meaning that even pure self-dealing conduct without any benefit to the Funds (which

undisputedly is not the case here) still is imputed to the principal. BLMIS, 721 F.3d at 64 n.14; In re

Mediators, 105 F.3d at 827 (sole actor rule applied where agent was corporation’s “sole . . . decision-

maker, and therefore whatever decisions he made were, by definition, authorized by, and made on

behalf of, the corporation”) (quotations omitted). It is axiomatic that “if an agent is the sole

representative of a principal, then the agent’s fraudulent conduct is imputable to the principal

regardless of whether the agent’s conduct was adverse to the principal’s interest.” Official Comm.

of Unsecured Creditors v. R.F. Lafferty & Co., 267 F.3d 340, 359 (3d Cir. 2001) (emphasis added);

see also BLMIS, 721 F.3d at 64 n.14 (sole actor rule “‘imputes the agent’s knowledge to the principal

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notwithstanding the agent’s self-dealing’”) (quoting In re Mediators, 105 F.3d at 827).

        The Complaint and documents cited in it establish that Priore and ICP (which Priore

controlled) were the sole actor and decision-maker on behalf of the Funds when it came to how the

Funds’ assets were managed. (See, e.g., Compl. ¶¶ 26-27, 34.) Indeed, the Funds expressly granted

this status to Priore and ICP in writing, giving them full and unfettered discretion over the Funds’

day-to-day investment activities. “ICP served as SCIF Master’s investment manager” (id. ¶ 26), and

as set forth in the Funds’ respective Offering Memoranda:

       The Board of Directors has overall responsibility to manage the Fund, but has
       delegated investment discretion over the Fund’s assets to the Investment Manager
       pursuant to the terms of Fund Investment Management Agreement . . . . The Board of
       Directors is not responsible for the day-to-day conduct of the Fund’s trading
       activities.

(Offering Memoranda at 68 (cited in Compl. ¶ 25; Appendix, Ex. E) (emphasis added).

       As a result, the sole actor rule applies, and Plaintiffs cannot avoid imputation of Priore’s and

ICP’s alleged misconduct by relying on the adverse interest exception (which is inapplicable in any

event for the reasons noted above). See Breeden, 268 B.R. at 709 (“The sole actor rule applies

where . . . the corporation bestows upon its agent unfettered control and allows the agent to operate

without meaningful supervision with respect to a particular type of transaction.”) (citations omitted);

Bullmore, 20 Misc.3d at 676-77 (“[T]he investment managers were senior management: they

effectively controlled every aspect of the Fund’s operations, and for agency purposes, were the

Fund’s sole agents.”) (emphasis in original).

               3.      Plaintiffs Cannot Defeat Imputation By Claiming Innocent Insiders
                       Existed

       Plaintiffs’ attempt to invoke the “innocent insiders” exception to the sole actor rule similarly

falls flat. (See Compl. ¶¶ 117-19.) At the outset, it is crucial to recognize that the innocent insiders

exception only comes into play if the Court concludes (which it should not) both that (1) the adverse

interest exception does apply, and (2) the sole actor rule does not apply. This is well-established


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under New York law. See, e.g., In re Arbco Capital Mgmt., LLP, 498 B.R. 32, 48 (Bankr. S.D.N.Y.

2013) (refusing to consider trustee’s innocent insider argument after finding that adverse interest

exception did not apply); In re the 1031 Tax Group, LLC, 420 B.R. 178, 203 (Bankr. S.D.N.Y. 2009)

(“New York state cases do not recognize ‘innocent insider’ as an independent exception that stands

alone from the adverse interest exception.”); In re Magnesium, 399 B.R. at 767 n.150 (innocent

insiders exception only “operates as an exception to the Adverse Interest Exception”). As

demonstrated above, the adverse interest exception does not apply here, but even if it did, the sole

actor rule does apply. Thus, there is no need even to consider the innocent insiders exception.

       But even if the innocent insiders exception were potentially relevant (it is not), the Complaint

utterly fails to plead the facts necessary to invoke it. This exception applies to avoid imputation only

if Plaintiffs can plead facts demonstrating that there were actual corporate decision-makers at the

Funds who were not involved in the wrongdoing and who had authority and the ability to stop it. In

re Bennett Funding Grp., Inc., 336 F.3d 94, 101 (2d Cir. 2003) ; see also In re Arbco, 498 B.R. at 48

(“The touchstone of the innocent insider exception is control—whether the innocent person or

persons inside the corporation had the power to stop the fraud.”). The Complaint makes clear that no

such decision-makers existed here.

       Plaintiffs conclusorily contend that the Funds had two purportedly independent directors in

the Cayman Islands; that “Priore and ICP concealed . . . their wrongdoing from these Independent

Directors;” and that had the “Independent Directors learned of Priore’s and ICP’s fraud and breaches

of fiduciary duty, they could have and would have taken actions to stop it.” (Compl. ¶ 28.) But

Plaintiffs fail to allege, as they must to invoke the innocent insiders exception, facts demonstrating

what actual role the purportedly “Independent Directors” had in the Funds’ business operations,

much less how the Independent Directors somehow were capable of stopping the alleged

wrongdoing. See In re the 1031 Tax Group, 420 B.R. at 205-06 (granting motion to dismiss and


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rejecting “innocent insider” allegations contained in a “scant three paragraphs of the Complaint”

because “while the Trustee has identified at least two purportedly innocent insiders, the Complaint

does not indicate how these persons would have ended the fraud, or whether they had the power to do

so” and “is barren of any factual allegations regarding their respective corporate powers or what

earlier acts they could have taken to end the fraud”).

       As the Second Circuit has explained, purportedly innocent insiders must have a more than a

merely “metaphysical” ability to stop the fraud for the exception to avoid imputation. In re Bennett

Funding, 336 F.3d at 101. “[F]or the innocent insider exception to apply the insiders must have had

actual power to stop the alleged fraud.” In re the 1031 Tax Group, 420 B.R. at 205 (emphasis added;

citation omitted); see also In re Magnesium, 399 B.R. at 767 & 768 n.158 (holding that “Trustee’s

allegations in the Complaint with a view to satisfying the innocent decision maker exception are

conclusory and unsupported by any facts” such as the required allegations of “who was innocent and

how the wrongful conduct could have been stopped”).

       Nor could Plaintiffs ever make the required factual allegations here, because as established

above, Priore and ICP had full and unfettered discretion over the Funds’ day-to-day investment

activities. See supra pp. 17-18. The “Independent Directors” thus had no practical ability at all to

stop Priore’s and ICP’s alleged misconduct relating to investment activities. Instead, just as in In re

Bennett Funding, “each so-called independent director was impotent to actually do anything.” 336

F.3d at 101. See also Bullmore, 20 Misc.3d at 673-75 (innocent insiders exception did not apply

because “the investment managers exercised nearly unfettered control over the fund’s day-to-day

activities and operations,” rendering the directors “passive corporate actors”). Plaintiffs, by alleging

nothing more than what the Independent Directors theoretically might have done if they theoretically

had power, “seem[] to believe that the Wagoner rule is defeated by a would-a, could-a, should-a test,




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but that is simply not the law.” In re Bennett Funding, 336 F.3d at 101.10

           Accordingly, in pari delicto bars all of Plaintiffs’ claims. DLA’s Motion should be granted.

III.       PLAINTIFFS FAIL TO STATE A CLAIM FOR AIDING AND ABETTING FRAUD
           OR AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

           Plaintiffs’ aiding and abetting claims fail as a matter of law because Plaintiffs do not and

cannot plead any, much less all, of the required elements of either claim. To adequately plead a

claim for aiding and abetting fraud, Plaintiffs must allege particularized facts demonstrating: (1) an

underlying fraud; (2) actual knowledge of the fraud on the part of the aider and abettor; (3) that the

aider and abettor provided substantial assistance to advance the fraud’s commission; and (4) that the

substantial assistance proximately caused the alleged harm. Lerner, 459 F.3d at 292. Similarly, to

plead a claim for aiding and abetting breach of fiduciary duty, Plaintiffs must allege specific facts

demonstrating: (1) an underlying breach of fiduciary duty; (2) the aider and abettor’s knowing

participation in the breach; (3) substantial assistance in accomplishing the breach of duty; and

(4) proximate causation. Kaufman v. Cohen, 307 A.D.2d 113, 125 (1st Dep’t 2003).

           A.        Plaintiffs Do Not Plead An Underlying Fraud

           Plaintiffs’ fraud allegations are wholly deficient, providing an independent reason for

dismissal of the aiding and abetting fraud claim. The Complaint asserts conclusory allegations

regarding a purported “fraudulent scheme” (see, e.g., Compl. ¶¶ 5-6, 9, 26), but it never pleads any

particularized facts establishing the existence of a fraud on the Funds. Among other failings, the

Complaint does not identify a single alleged misrepresentation made by ICP or Priore to the Funds,

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       Plaintiffs’ conclusory allegations regarding the existence of purported “innocent investors” (Compl. ¶ 119) likewise
       fail for the related though independent reason that Plaintiffs neither identify a single specific “innocent investor” nor,
       crucially, explain how such innocent investors allegedly had such decision-making power that they “could and would
       have taken action to stop the fraud on the SCIF Funds.” (Id.) See Breeden, 268 B.R. at 710 (rejecting argument that
       “the presence of any innocent officer, director, or shareholder avoids the imputation of fraudulent acts” because
       “[o]nly management that exercises total control over the corporation—or that exercises total control over the type of
       transactions involved in the particular fraudulent activity at issue—are relevant”) (emphasis in original). While the
       Complaint identifies three shareholders of SCIF Master, Plaintiffs admit that all three of those shareholders were
       controlled by Priore, thus negating any alleged “innocence.” (See Compl. ¶¶ 18, 34.)



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much less a statement made with intent to defraud, nor reliance by the Funds on that statement. See

Kaufman, 307 A.D.2d at 119. This failure dooms the aiding and abetting fraud claim at the outset.

See, e.g., Art Capital Grp., LLC v. Neuhaus, 70 A.D.3d 605, 607 (1st Dep’t 2010) (dismissing claims

against attorney for aiding and abetting fraud where plaintiffs failed to allege any misrepresentations

and thus failed to plead underlying fraud); Jana Master Fund, Ltd. v. JPMorgan Chase & Co., 19

Misc.3d 1106(A), at *5 (Sup. Ct. N.Y. Cty. 2008) (dismissing claim for aiding and abetting fraud

where allegations of an underlying fraud “have been pleaded in a conclusory fashion” only).

         Notably, Plaintiffs have not asserted a fraud claim against either ICP or Priore in their

separate New York State action. (See ECF No. 4, Ex. F.) In other words, while Plaintiffs allege in

this case that DLA aided and abetting a fraud by ICP and Priore, they have not asserted a fraud claim

against those primary parties in the first instance. This omission itself is fatal. It also confirms that

Plaintiffs never could plead a claim for aiding and abetting fraud even if given leave to amend.11

         B.       Plaintiffs Do Not Plead An Underlying Breach Of Fiduciary Duty

         Plaintiffs’ claim that ICP and Priore breached fiduciary duties to the Funds rests entirely on

the unsupported assumption that somehow it was inherently improper for SCIF Master to loan money

to satisfy Triaxx’s margin call obligations. But Plaintiffs never explain how or why it is improper for

an investor (SCIF Master) in a complex transaction (the CDO Transaction) to make a business

decision to loan funds necessary to keep the transaction afloat and avoid an Event of Default that

would wipe out that investor’s (SCIF Master’s) substantial, multi-million dollar investment.

Certainly Plaintiffs never plead any facts demonstrating the supposed impropriety of the margin

11
     Plaintiffs cannot satisfy their obligation to plead with particularity an underlying fraud by referencing the SEC’s
     complaint against Priore and ICP. (See, e.g., Compl. ¶ 15.) The court in that case never made a finding of fraud as to
     Priore or ICP, and the case was settled without any admission of wrongdoing. (See ECF No. 4, Ex. E.) Thus, the
     SEC’s unproven allegations provide no support for Plaintiffs and cannot be used to satisfy their high burden to plead
     particularized factual allegations establishing an underlying fraud. Cf. Tot v. United States, 319 U.S. 463, 466 (1943)
     (“An indictment charges the defendant with action or failure to act contrary to the law’s command. It does not
     constitute proof of the commission of the offense.”). That is particularly so where Plaintiffs have not alleged any
     fraud against Priore or ICP in their pending state court case. (See ECF No. 4, Ex. F.)



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payments. At best, they attack the business judgment behind making these loans without a written,

non-contingent right of repayment (see Compl. ¶¶ 56-58, 91), which does not establish a breach of

fiduciary duty. See Ditlya v. Grinberg, 36 Misc.3d 1233(A), at *3 (Sup. Ct. Kings Cty. 2012)

(dismissing claims for breach of fiduciary duty where plaintiff failed to allege facts showing that

transaction at issue “was made in bad faith or was not for a legitimate business purpose”); see also

North Fork Preserve, Inc. v. Kaplan, 68 A.D.3d 732, 733 (2d Dep’t 2009) (affirming dismissal of

breach of fiduciary duty claims “based on the business judgment rule”) (internal citations and

quotations omitted).

       Moreover, it is clear from the Complaint that SCIF Master’s margin payments were not

inherently improper. For example, none of the parties to the CDO Transaction—including Barclays,

its outside counsel at Cadwalader, LaSalle, its outside counsel at Alston & Bird, Bank of America

(which became Trustee later in the CDO Transaction (see Compl. ¶ 32)), and DLA—exhibited any

misgivings about the propriety of SCIF Master making the margin payments to avoid an Event of

Default. (See id. ¶¶ 6-7, 47-51, 53, 55.) The fact that these six highly sophisticated parties each

vetted and universally accepted the margin payments as appropriate under the CDO Transaction’s

structure stands in marked contrast to the Complaint’s complete failure to allege any facts

demonstrating that the payments were inherently improper. Accordingly, not only were the loans not

improper, as demonstrated supra pp. 8-9, 22-23, they actually benefitted the Funds in several ways.

The claim for aiding and abetting breach of fiduciary duty thus fails for lack of an underlying

violation. See, e.g., Palmetto Partners, L.P. v. AJW Qualified Partners, LLC, 83 A.D.3d 804, 808

(2d Dep’t 2011) (dismissing aiding and abetting claim where plaintiffs failed to plead underlying

breach of fiduciary duty); First Keystone Consultants, Inc. v. DDR Const. Servs., 74 A.D.3d 1135,

1137-38 (2d Dep’t 2010) (same).




                                                   23
       C.      Plaintiffs Do Not Allege Facts Reasonably Suggesting That DLA Had Actual
               Knowledge Of The Alleged Misconduct

       Even if Plaintiffs had pled an underlying fraud or breach of fiduciary duty (they have not), the

Complaint comes nowhere close to pleading specific facts demonstrating that DLA had “actual

knowledge” of such misconduct. The pleading bar for actual knowledge is “a heavy one.” Fraternity

Fund Ltd. v. Beacon Hill Asset Mgmt., LLC, 479 F. Supp. 2d 349, 368 (S.D.N.Y. 2007),

reconsideration denied, 2007 WL 1138866, at *1 (S.D.N.Y. Apr. 17, 2007). Plaintiffs must plead

facts demonstrating that DLA actually knew that Priore and ICP allegedly were committing fraud or

breaching their fiduciary duties. Allegations of mere constructive knowledge or recklessness,

including allegations that DLA “should have known” of the misconduct due to purported “red flags,”

are not sufficient. Lerner, 459 F.3d at 294; Ryan v. Hunton & Williams, 2000 WL 1375265, at *9

(E.D.N.Y. Sept. 20, 2000).

       Significantly, “[t]he existence of the attorney-client relationship in itself is an insufficient

factual basis for [alleging] fraudulent knowledge.” Fahlenbach v. Trans Pac. Capital, 1996 WL

22602, at *3 (S.D.N.Y. Jan. 19, 1996) (dismissing claims because plaintiff did not sufficiently plead

law firm’s knowledge of fraud); see also Hayden v. Feldman, 753 F. Supp. 116, 120 (S.D.N.Y. 1990)

(dismissing complaint because attorney’s knowledge of client’s fraud could not be inferred from

attorney’s mere “ongoing relationship” with client).

       The Complaint is entirely devoid of a single factual allegation demonstrating that DLA had

actual knowledge of an alleged fraud or breach of fiduciary duty. To the contrary, as discussed

below, the limited facts the Complaint alleges as to DLA’s knowledge demonstrate not only that

DLA had no such “actual knowledge,” it instead believed in good faith that SCIF Master’s margin

payments were loans permitted by the CDO Transaction documents and that the payments would be

repaid if the Collateral appreciated.




                                                    24
               1.     DLA Believed SCIF Master’s Margin Payments Were Loans

       Plaintiffs’ claims all require well-pled factual allegations that DLA knew ICP and Priore were

stealing money from the Funds. But far from pleading such facts, the Complaint makes clear that

DLA believed at all relevant times—from at least October 29, 2008 through May 2010—that

Barclays and ICP had agreed that SCIF Master’s margin payments would be repaid if the Collateral

appreciated. In other words, DLA believed a loan existed.

       The Complaint admits that DLA repeatedly conveyed this belief to numerous third parties,

including Barclays; at least four different ICP personnel; the Funds’ administrator; and the SEC.

(See, e.g., Compl. ¶¶ 45, 50, 56, 79, 90, 101-02, 104.) And Plaintiffs never plead a single fact

suggesting that DLA did not hold this belief. To the contrary, the Complaint expressly admits that

DLA believed “that Barclays would pay money to Triaxx Funding . . . if there was excess margin,”

which in turn would be paid back to SCIF Master under the terms of the loan as DLA understood

them. (See id. ¶ 90 (emphasis added; Plaintiffs’ emphasis omitted).)

       This last admission alone is fatal to Plaintiffs’ claims, yet the Complaint goes further and

contains at least ten additional admissions demonstrating that DLA believed that a loan existed.

These admissions further make clear that DLA derived this belief from what ICP and Barclays had

told Mr. White, on which information Mr. White was permitted to rely. See Eurycleia Partners, LP

v. Seward & Kissel, LLP, 12 N.Y.3d 553, 560-61 (2009) (affirming dismissal of aiding and abetting

claims and holding that law firm was not required to confirm that information it had been provided

was truthful); Mateo v. Senterfitt, 82 A.D.3d 515, 517 (1st Dep’t 2011) (holding claim against law

firm for aiding and abetting client’s fraud failed to “allege that defendant had actual knowledge of

any fraud” where all plaintiffs alleged was that law firm incorporated client’s misrepresentations into

documents law firm drafted without taking “steps to verify” information client supplied).

       Those additional ten admissions further demonstrate DLA’s belief that a loan existed:



                                                  25
•   October 29, 2008: DLA told Barclays that there would be “a short letter agt between Barclays
    and the funder of cash,” i.e., a loan agreement. (Compl. ¶ 45.)

•   October 31, 2008: DLA told ICP’s Parseghian—who Plaintiffs contend “assisted Priore and
    others at ICP in defrauding the SCIF Funds” (id. ¶ 37), and thus to whom DLA could not have
    had any motivation to lie—that there was going to be a loan agreement: a “letter agreement
    between the fund [SCIF Master] and Barclays” memorializing the terms of the loan. (Id. ¶ 50
    (alteration in original).)

•   October 31, 2008: DLA “sent Barclays a draft” loan agreement (id. ¶ 56); DLA plainly would
    not have done this unless it believed a loan existed.

•   November 5, 2008: After Barclays informed DLA that “they [didn’t] want to sign the side
    letter,” Barclays proposed to DLA an alternative structure for the loan. Barclays’s proposal
    was to “hav[e] the collateral manager [ICP] give a direction letter to the Trustee [LaSalle] to
    take the first dollars if there’s margin excess and ship them to [SCIF Master]” as repayment
    for the loan. (Nov. 5, 2008 email (cited in Compl. ¶ 57; Appendix, Ex. C).) DLA’s White
    told ICP that he believed this approach—which had been suggested by Barclays, not by
    DLA—was a potentially workable solution to ensure SCIF Master was repaid on the loan.
    (Id.) Thus, DLA still believed at this time, based on what Barclays had told it, that a loan
    existed, just with a different repayment mechanism than initially had been contemplated.

•   April 29, 2009: DLA “drafted a document for ICP describing the transfers to Barclays as a
    loan.” (Compl. ¶ 79.) Significantly, DLA’s document details the exact same loan and
    repayment structure that Barclays had proposed to DLA on November 5, 2008: “ICP . . . will
    direct the Trustee to repay advances to the Fund . . . from funds transferrable by [Barclays] to
    Triaxx.” (Apr. 29, 2009 letter (cited in Compl. ¶ 79; Appendix, Ex. F).)

•   May 21, 2009: DLA drafted a detailed email to ICP describing the terms of the loan as they
    had been described to White by Barclays and ICP: “you [ICP] have indicated that Barclays
    and [SCIF Master] view these transaction . . . as advances by [SCIF Master] to Barclays,” and
    for repayment Barclays “will transfer all amounts, including any Margin Excess, to the
    Trustee,” who in turn will repay the advances to SCIF Master when “direct[ed]” by ICP to do
    so. (May 21, 2009 email (citied in Compl. ¶ 85; Appendix, Ex. D).)

•   May 22, 2009: White told Woroniecki, ICP’s Director of Fund Operations, that DLA’s
    “perception is that there [was] a ‘Undocumented Verbal Loan’ in place between SCIF and
    Barclays” and that DLA “was under the assumption that [Priore] had that conversation with
    Barclays.” (May 22, 2009 email (cited in Compl. ¶ 87; Appendix, Ex. G).) White once more
    reiterated DLA’s understanding of the terms of the loan based on information provided by
    Barclays and ICP: “Barclays will repay the loan plus fed funds to the trustee when there is
    Excess Margin.” (Id.)

•   July 2009: DLA again repeated what Barclays and ICP had told White about the loan when it
    informed the Funds’ administrator that “the transfers from the Scif Funds” were “a ‘loan’
    between SCIF Master and Barclays.” (Compl. ¶ 90.)




                                               26
     •   April 16, 2010: White told the SEC under oath that he believed there was a loan agreement
         between SCIF Master and Barclays: “It was my understanding that this was the agreement
         that had been made by SCIF and Barclays.” (Id. ¶ 101.)

     •   May 6, 2010: White again told the SEC that he believed there was a loan agreement between
         SCIF Master and Barclays: “The fact of an agreement to repay a loan was always there.” (Id.
         ¶ 104.)12

These admissions stand in stark contrast to the Complaint’s failure to allege a single fact suggesting

(much less demonstrating with particularity) that DLA ever learned there was not a loan.13

                  2.        DLA Believed SCIF Master’s Margin Payments Were Permissible Under
                            The CDO Transactional Structure And That There Was A Mechanism
                            For Repayment

         The Complaint makes clear that DLA did not just believe in good faith that a loan existed—it

also believed that (a) a loan was appropriate in the context of the CDO Transaction’s structure and

(b) the transactional structure provided a mechanism for repayment to SCIF Master. The

Complaint’s admissions on these points further confirm the insufficiency and futility of Plaintiffs’

“actual knowledge” allegations.

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     Plaintiffs’ weak contention that “[a]pparently, the SEC did not consider White’s testimony” to be “credible” because
     the SEC still filed a lawsuit against Priore and ICP is baseless. (See Compl. ¶ 106.) Even if the SEC may have
     thought there was no loan, there is nothing to suggest the SEC disbelieved White’s testimony that DLA believed that
     a loan did exist. Notably, the SEC never sued DLA or White; nor did the SEC ever pursue perjury charges against
     White. The SEC’s failure to take any action against DLA or White is particularly relevant in light of Plaintiffs’
     repeated reliance on the SEC’s complaint against ICP and Priore.
13
     Plaintiffs’ conclusory contentions that DLA somehow knew SCIF Master never would be repaid on the loans are
     unavailing. For example, Plaintiffs assert that “White knew that Triaxx Funding had no liquidity to repay the SCIF
     Funds and he had no reason to believe Triaxx Funding would get any additional funds,” and further “that even if
     Barclays paid some excess margin to Triaxx Funding, it was unlikely that Triaxx Funding would pay these funds to
     SCIF Master.” (Compl. ¶¶ 8, 87.) However, “no reason to believe” is not the appropriate test as discussed above
     (see cases cited in §§ C. & C.1 above), and in any event, Plaintiffs identify absolutely no factual basis as to either
     Triaxx’s actual and expected future liquidity or DLA’s knowledge thereof. Nor do they point to any basis for why it
     would be “unlikely” that Triaxx would use funds transferred to it by Barclays repay SCIF Master. To the contrary,
     the only factual material in the Complaint supports the opposite conclusion: DLA believed payment was likely
     because ICP was authorized to direct the Trustee to cause Triaxx to use those funds to repay SCIF Master by making
     “an irrevocable direction . . . as Collateral Acquirer under the Indenture, to the Trustee to” do so. (Id. ¶¶ 53, 85, 90.)
     As another example, Plaintiffs allege irrelevantly that White knew SCIF Master “would have no recourse against
     Triaxx Funding for repayment outside of litigation” and “nothing in the [October 2008] Direction Letter required
     LaSalle . . . to repay SCIF Master.” (Id. ¶¶ 44, 54.) Of course, the Funds, which again were not White’s or DLA’s
     clients, did not need “recourse against Triaxx Funding” because the mechanism for repayment depended on Barclays,
     ICP and the Trustee—not Triaxx. (See id. ¶¶ 51-53.) Likewise, the October 2008 Direction Letter is irrelevant
     because repayment was going to be effected by a subsequent direction letter, not the October 2008 one. (See id.
     ¶¶ 59-62.)



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       First, the Complaint admits that DLA believed it was permissible under the CDO

Transaction’s structure for ICP to make the business decision to cause a third party to loan funds to

meet margin calls and provided this advice to ICP. (Compl. ¶¶ 5, 44, 46, 59, 63.) While Plaintiffs

unfairly and inaccurately attempt to portray this fact as nefarious, they do not and cannot deny that

DLA believed this advice was correct. Neither do they allege a single fact demonstrating that DLA’s

advice purportedly was incorrect under the CDO Transaction’s governing documents.

       Second, DLA believed that, should SCIF Master make such margin loans, the CDO

Transaction provided a mechanism for repayment: Barclays would transfer any margin excess to

Triaxx, whereupon ICP would instruct the Trustee to cause Triaxx to use the margin excess to repay

SCIF Master (“Repayment Mechanism”). As demonstrated supra p. 26, Barclays and its counsel at

Cadwalader first proposed the Repayment Mechanism on November 5, 2008, and DLA concurred

with that proposal. While Plaintiffs conclusorily assert that DLA “knew that there was nothing in the

Triaxx Funding Indenture” authorizing the Repayment Mechanism (Compl. ¶ 105), Plaintiffs never

allege a single fact suggesting that DLA did not believe in good faith that the Repayment Mechanism

existed. In fact, the Complaint’s factual allegations utterly refute this baseless assertion. They

demonstrate that DLA actually believed that the Repayment Mechanism did exist. For example:

   •   November 2008: After Barclays first proposed the Repayment Mechanism, White wrote to
       ICP: “I think we should be able to get there with a formulation like that.” (Nov. 5, 2008
       email (cited in Compl. ¶ 57; Appendix, Ex. C).)

   •   April 2009: Repeating DLA’s advice that Barclays’s proposal was workable under the CDO
       Transaction documents, Priore wrote an internal ICP email stating that the Repayment
       Mechanism is “imbedded in the Triaxx document itself as to how the transaction operates,” as
       “the direction from counsel” (i.e., DLA) had confirmed. (Compl. ¶ 77 (emphasis added).)

   •   April 2009: White drafted a document detailing once again how, in DLA’s view, the
       Repayment Mechanism worked: “ICP . . . will direct the Trustee to repay advances to the
       Fund . . . from funds transferrable by [Barclays] to Triaxx.” (Apr. 29, 2009 letter (cited in
       Compl. ¶ 79; Appendix, Ex. F).)

   •   May 2009: White drafted a detailed email yet again confirming DLA’s view as to how the
       Repayment Mechanism worked: “[T]o ‘the extent that [SCIF Master’s] advances are

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         subsequently transferred by Barclays to the Trustee [B of A],’ ICP could direct B of A ‘to
         transfer those advances back to [SCIF Master] outside of the Priority of Payments under the
         [Triaxx Funding] Indenture.’” (Compl. ¶ 85 (bracketed language in original).)

     •   July 2009: White repeated DLA’s opinion to the Funds’ outside administrator: “Repayment
         of the Loans will occur upon direction by [ICP] to [B of A], pursuant to the terms of the
         [Triaxx Funding] Indenture, to transfer to [SCIF Master] . . .certain funds received by [B of
         A] from [Barclays] in respect of the Loans.” (Id. ¶ 90.)

         DLA’s belief that (1) a loan existed, (2) it was permissible under the CDO Transaction’s

structure, and (3) there was a mechanism for SCIF Master to be repaid is fatal to Plaintiffs’ aiding

and abetting claims. Plaintiffs simply have not established and cannot, consistent with FRCP 11,

establish that DLA had actual knowledge of ICP’s and Priore’s alleged misconduct.14 See Eurycleia

Partners, 12 N.Y.3d at 560-61 (law firm did not have actual knowledge of alleged fraud because it

believed offering memoranda it prepared were accurate based on information provided by third

party); Albion Alliance Mezzanine Fund, L.P. v. State St. Bank & Trust Co., 8 Misc.3d 264, 273 (Sup.

Ct. N.Y. Cty. 2003) (bank did not have “actual knowledge” of the alleged fraud when it believed in

good faith that its conduct was appropriate), aff’d, 2 A.D.3d 162 (1st Dep’t 2003). See also Mateo,

82 A.D.3d at 517 (aiding and abetting fraud claim did not allege “defendant had actual knowledge of

any fraud” where all plaintiffs alleged was that law firm incorporated client’s misrepresentations into

documents law firm drafted without taking “steps to verify” information client supplied).

                  3.      Plaintiffs’ Remaining Conclusory And Speculative “Actual Knowledge”
                          Allegations Fail

         Despite the foregoing admissions that defeat their aiding and abetting claims, Plaintiffs

nonetheless attempt to plead DLA’s purported “actual knowledge” of the alleged misconduct in other

ways. Those tactics too are all unavailing.

         For example, the bald conclusion that “White knew Barclays recognized the impropriety of

14
     The fact that DLA openly described its work in the invoices it sent to Triaxx—“negotiating and drafting documents
     in connection with [SCIF Master] funding of margin payments under the Barclays MRA”—further confirms that
     DLA did not believe there was anything improper about SCIF Master’s payments. (See Compl. ¶ 71.)



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taking the SCIF Funds’ money” easily can be disregarded. (Compl. ¶¶ 48-49.) There is absolutely

nothing in the Complaint supporting the contention that Barclays thought SCIF Master’s margin

payments were improper. To the contrary, Barclays accepted SCIF Master’s $36.5 million in margin

payments, something a sophisticated party like Barclays with sophisticated counsel like Cadwalader

never would have done if it “recognized the impropriety” of the payments. (Id.) Moreover, it was

Barclays that proposed the Repayment Mechanism in the first place. See supra pp. 26. Further, even

if Barclays believed the margin loans were improper (which the Complaint does not plead), there is

nothing in the Complaint suggesting that DLA somehow knew that Barclays had such a view.15

         Equally unavailing is Plaintiffs’ utterly false contention that “DLA knew that the SCIF Funds

were not represented by counsel in this multi-million dollar transaction.” (Compl. ¶ 54.) The

ostensible support for this allegation shows only that “White testified that he was not focused on

whether SCIF was represented by counsel,” and Plaintiffs further admit that White told the SEC

under oath that he knew SCIF Master was represented by counsel at some point. (Id. ¶¶ 29, 101

(“SCIF had . . . at one point been represented by the law firm of Schulte Roth.”).) Moreover, even if

pled (it is not), DLA’s knowledge that the Funds purportedly were not represented by counsel still

would not constitute the required actual knowledge of ICP’s and Priore’s misconduct.

         Also unavailing are the allegations that “White was aware that it made no commercial sense

for the SCIF Funds to make the transfers to Barclays” and that “there was no good commercial reason

for the SCIF Funds to make the transfers.” (Id. ¶¶ 8, 81.) Allegedly knowing that something “made

no commercial sense” is not the same as knowing it is a fraud or breach of fiduciary duty. Lawyers,

who, like Mr. White, generally are not steeped in their clients’ financial affairs, are not responsible


15
     That Barclays asked for standard “waiver language” is a red herring. (See Compl. ¶¶ 48-49.) It is clear from the
     waiver letter itself that Barclays merely and appropriately sought this waiver language to protect its right to proceed
     against Triaxx in the event that SCIF Master, for any reason, prematurely sought repayment of the loan. (Oct. 30,
     2008 letter (cited in Compl. ¶ 52; Appendix, Ex. H).)



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for second-guessing potentially inadvisable business judgments, and are not held liable for aiding and

abetting if those business judgments turn out, unbeknownst to the lawyer, to be fraudulent. That is

precisely why the standard for aiding and abetting is actual knowledge and not negligence. See Roni

LLC v. Arfa, 72 A.D.3d 413, 414 (1st Dep’t 2010) (affirming dismissal of aiding and abetting claims

against lawyers where they merely “structured and organized entities that acted as the brokers on the

property acquisitions . . . activities which are part of ordinary real estate lawyering” and had no actual

knowledge that the transactions were part of an alleged fraud), aff’d, 15 N.Y.3d 826 (2010). See also

Eurycleia Partners, 12 N.Y.3d at 560-61 (dismissing aiding and abetting claims where law firm

lacked actual knowledge of fraud); Mateo, 82 A.D.3d at 517 (same); Albion Alliance, 8 Misc.3d at

273 (dismissing aiding and abetting claims where bank lacked actual knowledge of fraud).

         Aside from the foregoing dispositive point, there was an overarching valid commercial reason

for SCIF Master to make these loans to satisfy Triaxx’s margin payments: the Funds stood to lose

the many millions of dollars they had invested in the CDO Transaction if Barclays declared an Event

of Default. See supra pp. 7, 16. Plaintiffs cannot hide from this undisputed fact behind rhetoric and

conclusory allegations. Thus, for all of these reasons, the Complaint fails to plead that DLA had

actual knowledge of ICP’s and Priore’s alleged misconduct.16

         D.        Plaintiffs Do Not Allege Facts Reasonably Suggesting That DLA Substantially
                   Assisted The Alleged Misconduct

         The Complaint makes clear that DLA did nothing more than provide routine transactional

counsel services with respect to the CDO Transaction. Stripped of its hyperbolic rhetoric and


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     In addition to all of the deficiencies detailed above, it is particularly telling that Plaintiffs never allege (nor could
     they) that DLA knew anything about the circumstances under which ICP and Priore actually caused SCIF Master to
     make the transfers to Barclays. That is, while Plaintiffs allege DLA was told that the transfers would happen, and
     DLA learned about the transfers after they occurred, there is no contention that DLA had any involvement
     whatsoever in actually effecting the transfers of money out of SCIF Master. Accordingly, the Complaint contains
     no plausible basis for its mere conclusions of actual knowledge of any fraud or breach of fiduciary duty. The only
     plausible conclusion is that DLA believed ICP and Priore were permitted to make the margin payments with SCIF
     Master’s funds.



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conclusory assertions, the Complaint pleads only that DLA (1) advised on whether a third party could

make margin payments under the CDO Transaction’s structure; (2) interfaced with Barclays and the

Trustee regarding margin payments that ICP independently arranged for SCIF Master to make; and

(3) “drafted documents” and “prepared” letters memorializing those payments after the fact. (See,

e.g., Compl. ¶¶ 6-8, 44, 58.) These allegations are facially insufficient to plead substantial assistance.

See, e.g., Broad-Bussel Family LP v. Bayou Grp. LLC (In re Bayou Hedge Funds Inv. Litig.), 472 F.

Supp. 2d 528, 534 (S.D.N.Y. 2007) (attorneys’ legal services documenting and sending false

valuation reports not substantial assistance); CRT Investments, Ltd v. BDO Seidman, LLP, 85 A.D.3d

470, 472 (1st Dep’t 2011) (holding that substantial assistance “means more than just performing

routine business services for the alleged fraudster”).17

         Because they cannot allege facts demonstrating substantial assistance, Plaintiffs are forced to

resort to chicanery and sleight of hand. First, in an unsuccessful effort to implicate DLA in

everything ICP and Priore did, Plaintiffs repeatedly attempt to obfuscate the distinction between two

distinct sets of alleged conduct: (1) ICP’s and Priore’s alleged theft from the Funds, in which DLA is

not alleged to have played any role and of which DLA is not alleged to have had any knowledge; and

(2) the separate, subsequent use of that supposedly stolen money to satisfy Barclays’s margin calls,

for which DLA provided routine legal services without any factual allegations of knowledge that the

money had been obtained improperly. Plaintiffs repeatedly conflate these analytically distinct points,

attempting to characterize it all as some kind of unified “plan” or “scheme.” (See, e.g., Compl.


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     See also, e.g., Reynolds v. Schrock, 341 Ore. 338, 350 (2006) (“[A] lawyer acting on behalf of a client and within the
     scope of the lawyer-client relationship . . . is not liable for assisting the client in conduct that breaches the client’s
     fiduciary duty to a third party.”); Chem-Age Indus. v. Glover, 652 N.W.2d 756, 775 (S.D. 2002) (citing Witzman v.
     Lehrman, Lehrman & Flom, 601 N.W.2d 179, 188 (Minn. 1999) for proposition that “substantial assistance means
     more than providing routine professional services”); Goodman v. Kennedy, 18 Cal.3d 335, 344 (1976) (holding that if
     attorneys were liable for aiding and abetting liability based on provision of mere routine legal services it “would
     inject undesirable self-protective reservations into the attorney’s counseling role,” “prevent [the lawyer] from
     devoting his entire energies to his client’s interests,” and constitute “an undue burden on the profession and a
     diminution in the quality of the legal services received by the client”) (internal quotation and citation omitted).



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¶¶ 7-8, 13, 45, 47-48, 55.) Plaintiffs then combine these mischaracterizations with conclusory

rhetoric about DLA’s purported involvement, such as that White somehow “act[ed] as the point

person in implementing [ICP’s and Priore’s] scheme” and “took the lead on implementing the

scheme to siphon money from SCIF.” (See, e.g., id. ¶¶ 6, 16, 39, 45, 55.) None of these allegations

is supported by any facts; nor do they withstand even the most cursory scrutiny.

       Second, Plaintiffs attempt to contort completely innocuous, ordinary events in the course of

the CDO Transaction into purported nefarious instances of substantial assistance. For example,

Plaintiffs blatantly misstate certain discussions between ICP employee Woroniecki and DLA

regarding the margin loans. (Id. ¶¶ 11, 74-88.) Plaintiffs baselessly attempt to paint Woroniecki as

some kind of “whistleblower” who ICP, Priore and DLA all conspired to “silence.” (Id.) But the

actual facts pled in the Complaint, as demonstrated below, completely contradict this insinuation:

Woroniecki, in his capacity as ICP’s Director of Fund Operations, examined SCIF Master’s margin

payments and, significantly, even he independently concluded that the payments could be recorded as

loans on SCIF Master’s books—hardly consistent with rhetoric about Woroniecki being a

“whistleblower” who was “silenced.”

   •   April 23, 2009: Woroniecki asked White for backup that would enable the Funds to book the
       margin payments as loans. (Compl. ¶ 74.) White responded by describing the events that
       occurred in October 2008. (Id. ¶ 75.)

   •   April 28, 2009: Woroniecki told ICP’s management that he needed more backup before the
       margin payments could be booked as loans and—far from threatening to be a
       “whistleblower”—Woroniecki requested exactly the kind of backup he wanted: “[i]f we want
       this booked as a loan we should have something drafted which spells out the terms of the
       loans.” (Id. ¶ 76) Consistent with Woroniecki’s instruction, White circulated a draft letter.
       (Id. ¶ 79.) Woroniecki responded that, in his opinion, White’s letter by itself did not provide
       the necessary backup. (Id. ¶ 80.) Woroniecki then provided further detail on the specific kind
       of backup he wanted: “The reason I asked ‘Can ICP . . . require the Trustee to pay SCIF in
       priority over Note holders?’ is because if so you can argue that ICP . . . under its authority can
       assure the repayment of Triaxx to SCIF.” (Id. ¶¶ 80, 82; April 29, 2009 email (cited in
       Compl. ¶ 80; Appendix, Ex. I).)

   •   May 21, 2009: Consistent with Woroniecki’s further instruction, White provided a detailed
       explanation of the loan and the Repayment Mechanism. In direct response to Woroniecki’s

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       April 29 question, White explained that ICP “could direct the Trustee . . . to transfer those
       advances back to [SCIF Master].” (May 21, 2009 email (cited in Compl. ¶ 85; Appendix, Ex.
       D) (emphasis added)).)

   •   May 22, 2009: After reading White’s May 21 email, “Woroniecki contacted White and had a
       long discussion with him about SCIF Master’s payments” (Compl. ¶ 87), after which
       Woroniecki wrote to Priore: “[White’s] perception is that there is a ‘Undocumented Verbal
       Loan’ in place between SCIF and Barclays.” (May 22, 2009 email (cited in Compl. ¶ 87;
       Appendix, Ex. G).) Woroniecki continued that “[White] was under the assumption that you
       [Priore] had that conversation with Barclays, I’d like to confirm that then I can set this up as
       a loan.” (Id. (emphasis added).) Priore confirmed as Woroniecki requested: “we have
       discussed with Barclays.” (Id. (emphasis added).) Having confirmed with Priore that there
       was a loan in place, Woroniecki then agreed that there was sufficient backup for the Funds to
       book the margin payments as a loan. (Compl. ¶ 87.)

       There is no basis to plausibly claim this episode in any way constituted “substantial

assistance” by DLA in ICP’s and Priore’s alleged misconduct. See Twombly, 550 U.S. at 570

(complaint must plead “enough facts to state a claim to relief that is plausible on its face”); In re

Elevator Antitrust Litig., 502 F.3d 47, 52 (2d Cir. 2007) (dismissing complaint for failure to plead

facts sufficient to state plausible claim). The foregoing demonstrates that DLA’s White simply

repeated for Woroniecki the information that Barclays and ICP had told him regarding the margin

loans (see supra pp. 33-34), as well as his understanding of how the Repayment Mechanism

operated. Further, Woroniecki ultimately concluded that a loan existed because of what Priore told

him—i.e., that ICP had “discussed with Barclays” the fact of a loan—not what DLA said. (May 22,

2009 email (cited in Compl. ¶ 87; Appendix, Ex. G).)

       The Complaint’s other mischaracterizations of mundane transactional events, stripped of

unsupported insinuations and innuendo, also fail to plead substantial assistance:

   •   Plaintiffs mischaracterize discussions between DLA’s White and the Funds’ administrator
       regarding the margin loans. (See Compl. ¶¶ 12, 89-91.) All White did was to provide the
       Funds’ administrator with DLA’s “understanding of the terms of the Loans” as they had been
       described to White by ICP and Barclays. (Id. ¶ 90). The Complaint alleges no facts
       supporting the bald assertion that DLA relayed this information with an intent “[t]o conceal
       Priore’s and ICP’s wrongful activity.” (Id.)

   •   Plaintiffs claim White agreed to “add a certification in the direction letter” that the Triaxx
       Noteholders would not be “materially and adversely affected by” the margin loans even

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       though White purportedly knew that SCIF Master (a Noteholder) would be adversely affected.
       (Id. ¶ 61.) But Plaintiffs ignore that (1) White believed SCIF Master’s payments were loans
       and thus SCIF Master was not adversely affected; and (2) far from believing the Noteholders
       would be adversely affected by the margin loans, White believed those payments benefitted
       the Noteholders, including SCIF Master, by avoiding an Event of Default. See supra pp. 25-
       27.

   •   Plaintiffs attempt to put a nefarious spin on the legal fees DLA billed to Triaxx for work
       related to SCIF Master’s margin payments made on Triaxx’s behalf. (Compl. ¶ 71.) But it is
       undisputed that the margin loans benefitted Triaxx by avoiding an Event of Default that
       Triaxx’s own non-payment would have caused.

   •   Plaintiffs seek to cast a negative light on DLA’s working to advance the interests of its clients,
       ICP and Triaxx. (See id. ¶¶ 16, 50.) DLA’s ethical duties required that DLA protect and
       advance its clients’ interests.

   •   Plaintiffs attempt to distort Triaxx’s routine expense disbursements as being somehow
       improper. (Id. ¶¶ 9-10, 65, 70, 93-99.) As an initial matter, what Triaxx did is simply
       irrelevant; the alleged misconduct at issue here is the purported theft of funds from SCIF
       Master and their transfer to Barclays, not anything Triaxx did subsequent to those transfers.
       As to Triaxx’s purported payment of DLA’s legal fees with SCIF Master’s funds, Plaintiffs’
       allegations are based exclusively on their willful misreading of a joke White made in an
       email. (Id. ¶ 98 (“I’m kidding”).) Plaintiffs do not plead any facts supporting the conclusory
       assertion that “Priore, ICP, and White agreed to use $200,000 from SCIF Master to pay
       DLA’s outstanding legal bills.” (Id. ¶ 97.)

       Reduced to the actual facts pled, the Complaint’s “substantial assistance” allegations amount

to nothing more than a recitation of innocuous events over the course of the CDO Transaction—

events in which DLA played a standard transactional counsel role. This is insufficient to plead

substantial assistance, particularly considering that DLA’s limited legal work did not assist ICP and

Priore in the central event of their alleged misconduct: stealing $36.5 million from the Funds. See

Broad-Bussel, 472 F. Supp. 2d at 533-34 (granting motion to dismiss aiding and abetting claim where

“the complaint does not identify a single affirmative act by [defendants] that assisted, let alone

substantially assisted, Bayou’s primary violations”). It is undisputed that DLA: (1) did not propose

that ICP and Priore use the Funds’ money in particular for the margin loans—ICP and Priore made

that decision alone (Compl. ¶ 46); (2) never interacted with anyone from the Funds regarding the

margin loans, including, as Plaintiffs concede, “never communicated with any counsel” for the Funds



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(id. ¶ 29); and (3) was not involved in any fashion with the actual taking of money from the Funds.

(Id. ¶¶ 8, 47, 62-63.) Plaintiffs have failed to plead the essential element of substantial assistance;

their aiding and abetting claims therefore should be dismissed for this independent reason.

       E.      Plaintiffs Do Not Allege Facts Reasonably Suggesting That DLA Proximately
               Caused The Funds’ Harm

       Finally, the Complaint fails to adequately plead proximate causation. Plaintiffs must plead

facts showing that “the aiding and abetting defendant [i.e., DLA, not just ICP or Priore] proximately

caused the harm on which the primary liability is predicated” because the Funds’ alleged “injury

[was] a direct or reasonably foreseeable result of [DLA’s] conduct.” Pension Comm. of Univ. of

Montreal Pension Plan v. Banc of Am. Secs., LLC, 446 F. Supp. 2d 163, 201-02 (S.D.N.Y. 2006)

(emphasis added); see also Bloor v. Carro, Spanbock, Londin, Rodman & Fass, 754 F.2d 57, 63 (2d

Cir. 1985) (affirming lower court’s holding that “that aider and abettor liability would not attach

where the injury was not a direct or reasonably foreseeable result of the conduct”). That is, Plaintiffs

must plead facts demonstrating that DLA’s purported “substantial assistance in the primary violation

proximately caused the [Funds’] harm.” Fraternity Fund, 479 F. Supp. 2d at 370-71.

       The only proximate cause of the Funds’ harm alleged in the Complaint was ICP’s and Priore’s

unilateral conduct in causing the Funds to transfer $36.5 million to Barclays. Indeed, the Complaint

repeatedly admits that only “Priore and ICP caused the SCIF Funds to make [the] transfers to

Barclays” (Compl. ¶ 8 (emphasis added); see also id. ¶¶ 47, 62-63), not DLA’s purported substantial

assistance, which allegedly occurred after the fact in any event. Plaintiffs, therefore, have not met

their pleading burden on this element either. See Bloor, 754 F.2d at 61-62 (holding law firm did not

proximately cause losses of entities whose principal was engaged in “massive and continuing” fraud

because law firm only prepared SEC filings relating to the transactions whose proceeds were

wrongfully diverted).




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IV.       PLAINTIFFS’ CAYMAN LAW CLAIM IS INCURABLY DEFICIENT

          Plaintiffs assert a claim under Section 147 of the Cayman Islands Companies Law

(“Companies Law”), the elements of which are largely duplicative of Plaintiffs’ aiding and abetting

claims.18 Not surprisingly, the Cayman law claim fails for many of the same reasons as the aiding

and abetting claims, in addition to other independent deficiencies.

          A.       Principles Of Comity Warrant Dismissal Of The Cayman Law Claim

          This claim belongs in a Cayman court, not a U.S. court, for at least two reasons. First,

Section 147 only authorizes relief to be granted by a Cayman court, not a U.S. court. The Companies

Law defines “Court” to “mean[] the Grand Court of the Cayman Islands” only. Companies Law

§ 2(1) (Appendix, Ex. K). And Section 147 only authorizes parties to “apply to the Court for a

declaration under this section;” it further provides that “[t]he Court may declare” certain relief “as

the Court thinks proper.” Id. § 147 (Appendix, Ex. J.) (emphasis added). Thus, by its very terms, no

claim under Section 147 can be asserted other than in the Grand Court of the Cayman Islands.

          Second, Section 147 has been in effect only since March 1, 2009 and has not yet been the

subject of significant Cayman judicial interpretation. In fact, research was unable to locate any

reported Cayman decision substantively applying Section 147. A Cayman court is best positioned to

interpret, and has a greater interest in interpreting, this statute’s applicability to the factual allegations

in this case. See Pollux Holding Ltd. v. Chase Manhattan Bank, 329 F.3d 64, 76 (2d Cir. 2003)

(affirming district court’s holding that need to apply English law to plaintiffs’ claim “strongly tipped


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      Section 147 provides:
          (1) If in the course of the winding up of a company it appears that any business of the company has been carried
          on with intent to defraud creditors of the company or creditors of any other person or for any fraudulent purpose
          the liquidator may apply to the Court for a declaration under this section.
          (2) The Court may declare that any persons who were knowingly parties to the carrying on of the business in the
          manner mentioned in subsection (1) are liable to make such contributions, if any, to the company’s assets as the
          Court thinks proper.
      Companies Law § 147(1)-(2) (Appendix, Ex. J).



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in favor of litigation in England”), cert. denied, 540 U.S. 1149 (2004); VictoriaTea.com v. Cott

Beverages, Canada, 239 F. Supp. 2d 377, 387 (S.D.N.Y. 2003) (“An action should be tried in a

forum familiar with the law governing the case.”) (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501,

508-09 (1947)).

         These factors support dismissal of the Section 147 claim on comity grounds. See Maxwell

Commc’ns Corp. v. Société Générale (In re Maxwell Commc’ns Corp.), 93 F.3d 1036, 1048-52 (2d

Cir. 1996) (dismissing foreign preference claim out of deference to foreign court, because foreign

court had closer connection to case and stronger interest in outcome of dispute, and dismissal would

facilitate orderly and equitable distribution of debtor’s assets); Official Comm. of Unsecured

Creditors v. Transpac. Cor. Ltd. (In re Commodore Int’l Ltd.), 242 B.R. 243, 260 (Bankr. S.D.N.Y.

1999) (dismissing preference action against Bahamian creditor on principles of comity because

“notwithstanding the fact that CEL is a debtor in the U.S., any interest that we may have in resolving

this dispute is outweighed by the significant interest of the Bahamas”), aff’d, 2000 WL 977681

(S.D.N.Y. Jul. 17, 2000).19

         B.       The Cayman Law Claim Also Fails As A Matter of Law

         Even if this Court were to consider Plaintiffs’ Section 147 claim, it nevertheless fails as a

matter of law. To state a claim under Section 147, Plaintiffs must plead particularized facts

demonstrating, among other things, that DLA (1) was “knowingly part[y] to” (2) “the carrying on of

the [Funds’] business” (3) in a fraudulent manner. See Companies Law § 147 (Appendix, Ex. J.).

Absent reported Cayman decisions substantively applying Section 147, cases decided under

analogous English statutes20 are instructive and demonstrate why Plaintiffs’ Section 147 claim fails to


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     In making this argument, DLA is not intending to waive, and hereby reserves, any defenses it may have should this
     claim be asserted in a Cayman court, including defenses to jurisdiction.
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     Nearly identical to Section 147 of the Companies Law, Section 213 of the English Insolvency Act provides:
         If in the course of winding up of a company it appears that any business of the company has been carried on with
                                                                                               (Cont'd on next page)

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plead any of these elements. See Fed. R. Civ. P. 44.1 (“In determining foreign law, the court may

consider any relevant material or source.”); Winn v. Schafer, 499 F. Supp. 2d 390, 393 (S.D.N.Y.

2007) (“[W]here Cayman Islands law is silent, Cayman Islands courts look primarily to English

common law for guidance.”).

       First, DLA was not “knowingly part[y]” to any alleged fraudulent carrying on of the Funds’

business. As demonstrated at length, supra pp.21 21-31 Plaintiffs utterly fail to plead DLA knew of

ICP’s and Priore’s purported fraud (or even that there was such a fraud). Those same failings

completely devastate the Section 147 claim just as they sound the death knell for the aiding and

abetting claims.

       Second, Plaintiffs cannot allege (nor do they) that DLA was party to the carrying on of the

Funds’ business in the first place. DLA did not do anything at all to carry on the Funds’ business—as

demonstrated supra pp. 31-36. DLA was counsel to Triaxx and ICP only; DLA represented these

entities solely in the context of the CDO Transaction and in no other context; and all actions that

DLA is alleged to have taken were performed on behalf of those entities alone. (Compl. ¶¶ 5-9, 14,

16, 29, 43-55, 59-63, 65-70.) While Plaintiffs may claim (falsely) that DLA sat silently by while ICP

and Priore allegedly looted the Funds, even that is not enough to satisfy Plaintiffs’ pleading burden

for this element. See In re Maidstone Buildings Provisions Ltd., 1 W.L.R. 1085 (Ch. D. 1971)

(holding under § 332 of English Companies Act that “mere silence and omission” was insufficient to

“make [defendant] a party to the carrying on of the company’s business”) (Appendix, Ex. N).



(Cont'd from previous page)
       intent to defraud creditors of the company or creditors of any other person, or for any fraudulent purpose, the
       following has effect. The court, on the application of the liquidator may declare that any persons who were
       knowingly parties to the carrying on of the business in the manner above-mentioned are liable to make such
       contributions (if any) to the company’s assets as the court thinks proper.
   Insolvency Act 1986 § 213 (Appendix, Ex. L). Section 332 of the English Companies Act of 1948 (Appendix, Ex.
   M) is the predecessor to Section 213 and contains substantially similar language.



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         Third, Plaintiffs do not plead, as they must, that “any business of the [Funds] has been carried

on with an intent to defraud creditors of the company” or “for any fraudulent purpose.” Companies

Law § 147(1) (Appendix, Ex. J.). As demonstrated supra pp. 21-36, Plaintiffs do not adequately

plead the existence of any fraud at all. Indeed, the Complaint makes clear that the (non-fraudulent)

purpose of SCIF Master’s payments was to keep the CDO Transaction afloat for the benefit of

creditors (including Plaintiffs) by avoiding an Event of Default, not to defraud them. (See Compl.¶¶

7, 13, 39, 48, 78.) Having failed to allege fraud and fraudulent intent against those “who actually

carried on the business” (i.e., ICP and Priore), “there are no fraudulent acts to which the outsider

[DLA] can have been a party.” In re Augustus Barnett & Sons Ltd., 2 B.C.C. 98904 (Ch. D. 1985)

(applying § 332 of English Companies Act) (Appendix, Ex. O); see also Morphitis v. Bernasconi,

[2003] EWCA Civ 289, ¶ 47 (Ct. of App., Ch. D. 2003) (holding that § 213 of English Insolvency

Act “is engaged only where the business of the company has been carried on with intent to defraud”)

(Appendix, Ex. P).21

                                                   CONCLUSION
         For the foregoing reasons, DLA respectfully requests that the Court dismiss Plaintiffs’

Complaint with prejudice.

Dated: New York, New York
       January 24, 2014
                                                      Respectfully submitted,

                                                      GIBSON, DUNN & CRUTCHER LLP
                                                      By:        /s/ Matthew S. Kahn _______________
                                                                 Kevin S. Rosen (pro hac vice to be filed)
                                                                 Craig H. Millet (pro hac vice to be filed)
                                                                 Matthew S. Kahn (MK-5426)

                                                      Attorneys for Defendant DLA Piper LLP (US)
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     In addition, Section 147 would not apply to any events occurring prior to March 1, 2009, the effective date of the
     statute. See Picard v. Primeo Fund, Cause No. FSD 275 of 2010-AJJ, ¶ 8 (Grand Court Cayman Islands Jan. 14,
     2013) (Appendix, Ex. Q). The Complaint alleges that five of the ten transfers to Barclays took place prior to March
     1, 2009; Plaintiffs cannot recover for those transfers under Section 147.



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